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                       Exhibit C
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                                                                            Time
Date of Service       Caseworker                 Activity Details           Spent     Rate     Billed
09/10/2020      Christopher R. Newton draft ltr motion re stay                  0.7 $ 350.00 $ 245.00
09/10/2020      Christopher R. Newton t/c to cl                                 0.3 $ 350.00 $ 105.00
                                      2d Circuit decision-receive and
09/10/2020      Christopher R. Newton circulate                                0.2 $ 350.00 $        70.00
08/27/2020      Christopher R. Newton oral argument                            2.3 $ 350.00 $       805.00
                                      listen to 2d Cir arguments w/ my
08/26/2020      Christopher R. Newton panel                                    1.5   $ 350.00   $ 525.00
08/26/2020      Christopher R. Newton second mini moot                         1.2   $ 350.00   $ 420.00
08/26/2020      Veronica J Cook       second mini moot                         0.5   $ 500.00   $ 250.00
08/24/2020      Christopher R. Newton oral argument prep                       1.2   $ 350.00   $ 420.00
08/21/2020      Franklin H. Romeo     moot                                     2.5   $ 500.00   $ 1,250.00
08/21/2020      Christopher D Lamb    moot                                     1.2   $ 500.00   $ 600.00
08/21/2020      Christopher D Lamb    prep for moot                            0.3   $ 500.00   $ 150.00
08/21/2020      Christopher R. Newton moot                                     2.6   $ 350.00   $ 910.00
08/21/2020      Veronica J Cook       Moot                                     1.2   $ 500.00   $ 600.00
08/21/2020      Edward Josephson      moot and prep                              2   $ 500.00   $ 1,000.00
08/20/2020      Christopher D Lamb    prep for moot                            0.8   $ 500.00   $ 400.00
                                      listen to recent 2d circuit
                                      arguments with different panel
08/20/2020      Christopher R. Newton members                                  1.6   $ 350.00   $ 560.00
08/20/2020      Christopher R. Newton oral argument prep                       4.5   $ 350.00   $ 1,575.00
08/19/2020      Christopher R. Newton oral argument prep                       2.3   $ 350.00   $ 805.00
08/18/2020      Franklin H. Romeo     moot prep                                1.5   $ 500.00   $ 750.00
08/18/2020      Christopher R. Newton prep for oral argument                     4   $ 350.00   $ 1,400.00
08/17/2020      Christopher R. Newton Rule 28j letter- draft and file          1.4   $ 350.00   $ 490.00
                                      call from Circuit Ct clerk-need to
                                      file hard copy of brief if haven't
07/20/2020      Christopher R. Newton already                                  0.1 $ 350.00 $        35.00
07/14/2020      Christopher R. Newton t/c from cl                              0.2 $ 350.00 $        70.00
                                      hard-copies of briefs: assemble and
07/06/2020      Christopher R. Newton mail                                       1 $ 100.00 $       100.00

06/23/2020     Christopher R. Newton Research remote oral arguments              2   $ 350.00   $   700.00
06/23/2020     Christopher R. Newton oral argument date 8/27                   1.1   $ 350.00   $   385.00
05/19/2020     Christopher R. Newton rec & review P's reply brief              0.5   $ 350.00   $   175.00
05/11/2020     Christopher R. Newton t/c to cl                                 0.2   $ 350.00   $    70.00
05/08/2020     Christopher R. Newton format and file brief                     2.5   $ 100.00   $   250.00
05/08/2020     Christopher R. Newton final substantive edits to brief          1.3   $ 350.00   $   455.00
                                     incorporate Veronica's edits to
05/05/2020     Christopher R. Newton brief                                     2.6 $ 350.00 $ 910.00
05/05/2020     Veronica J Cook       Edit brief                                  4 $ 500.00 $ 2,000.00
05/04/2020     Veronica J Cook       Review appellant papers                   0.6 $ 350.00 $ 210.00
                                     receive & incorporate Jay's edits to
05/04/2020     Christopher R. Newton brief                                     1.9 $ 350.00 $       665.00
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                                                                                   Time
Date of Service        Caseworker                    Activity Details              Spent      Rate          Billed
                                          edit brief- send to Jay & Veronica
05/01/2020        Christopher R. Newton   for review                                     2   $ 350.00   $    700.00
05/01/2020        Christopher R. Newton   drafting brief                               2.4   $ 350.00   $    840.00
04/30/2020        Christopher R. Newton   drafting brief                               1.7   $ 350.00   $    595.00
04/29/2020        Christopher R. Newton   drafting brief                                 1   $ 350.00   $    350.00
04/27/2020        Christopher R. Newton   drafting brief                                 2   $ 350.00   $    700.00
04/21/2020        Christopher R. Newton   drafting brief                               1.6   $ 350.00   $    560.00
03/31/2020        Christopher R. Newton   t/c from cl                                  0.3   $ 350.00   $    105.00
03/30/2020        Christopher R. Newton   drafting brief                               1.5   $ 350.00   $    525.00
03/27/2020        Christopher R. Newton   drafting brief                               2.5   $ 350.00   $    875.00
03/26/2020        Christopher R. Newton   research & writing- brief                    1.6   $ 350.00   $    560.00
03/26/2020        Christopher R. Newton   review record, re-read P's brief               1   $ 350.00   $    350.00
03/25/2020        Christopher R. Newton   download revised appendix                    0.5   $ 100.00   $     50.00

03/23/2020        Christopher R. Newton request for deadline-draft and file            0.5 $ 350.00 $        175.00
03/18/2020        Christopher R. Newton re-read P's brief                              0.5 $ 350.00 $        175.00
03/17/2020        Christopher R. Newton receive plaintiff's brief                        1 $ 350.00 $        350.00

03/05/2020        Christopher R. Newton   review proposed record from OC               0.5   $ 350.00   $    175.00
02/12/2020        Christopher R. Newton   Mediation call                               1.7   $ 350.00   $    595.00
02/12/2020        Christopher R. Newton   CAMP prep meeting w cl                         1   $ 350.00   $    350.00
02/10/2020        Christopher R. Newton   mediation statement                          1.2   $ 350.00   $    420.00
02/05/2020        Christopher R. Newton   pre-mediation statement                        1   $ 350.00   $    350.00
01/30/2020        Christopher R. Newton   mediation prep                               0.9   $ 350.00   $    315.00
01/30/2020        Christopher R. Newton   ltr to cl                                    0.2   $ 350.00   $     70.00
01/06/2020        Christopher R. Newton   t/c to cl                                    0.1   $ 350.00   $     35.00
12/30/2019        Christopher R. Newton   t/c & ltr to cl                              0.4   $ 350.00   $    140.00
12/30/2019        Christopher R. Newton   P's motion for stay in Dist Ct               0.2   $ 350.00   $     70.00

                                          Call from Circuit clerk- need to file
12/27/2019        Christopher R. Newton   notice of appearance by 1/16                 0.3   $ 350.00   $ 105.00
12/19/2019        Christopher R. Newton   t/c to OC                                    0.1   $ 350.00   $     35.00
12/16/2019        Christopher R. Newton   t/c from Glenn Warmuth                       0.2   $ 350.00   $     70.00
12/16/2019        Christopher R. Newton   t/c to cl                                    0.1   $ 350.00   $     35.00
                                                                                             TOTAL      $ 29,030.00



                        Caseworker            Year Admitted to First Bar            Rate
                  Christopher R. Newton                                2013       $350.00
                  Veronica J Cook                                      2007       $500.00
                  Franklin H. Romeo                                    2006       $500.00
                  Christopher D. Lamb                                  1987       $500.00
                  Edward Josephson                                     1989       $500.00
